     Case 2:11-cr-00107-SAB   ECF No. 1012   filed 06/29/12   PageID.3726 Page 1 of 1




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 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 5
 6     UNITED STATES OF AMERICA,             )   No. CR-11-107-WFN-14
                                             )
 7               Plaintiff,                  )   ORDER GRANTING IN PART
                                             )   UNOPPOSED MOTION TO MODIFY
 8     v.                                    )
                                             )
 9     CALEB VADEN DORMAIER,                 )       UNOPPOSED MOTION
                                             )        GRANTED IN PART
10               Defendant.                  )        (ECF No. 1009)
                                             )
11                                           )
                                             )
12
13           Defendant’s unopposed Motion to modify his release conditions

14    is GRANTED IN PART.         Defendant shall remain under GSP monitoring.

15    However, his curfew is modified to the hours of 9:00 p.m. to 5:00

16    a.m.    Defendant will not be required to check in with his Pretrial

17    Services Officer while he is at work, during the hours of 5:00 a.m

18    to 9:00 p.m.

19           All other conditions of release shall remain.

20           IT IS SO ORDERED.

21           DATED June 29, 2012.

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23                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING IN PART UNOPPOSED MOTION TO MODIFY - 1
